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                                UNITED STATES DISTRICT COURT
                                SOU THERN DISTRICT OF FLORID A

                                      CA SE N O .19-6026-SN OW
   U NITED STATES O F AM ERICA



   BRAND ON FLEURY,

             D efendant.
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                                         M O TIO N TO UNSEA I.
             COM ES N OW ,theunited StatesofAm erica, by and through itsundersigned attorney and
                                                                                            ,

   respectfully requests that the Crim inalCom plaintand supporting Affidavit, and as well as the

   M otion to Sealand Sealing Order filed on January 18, 2019,be unsealed. The D efendanthas

   been an'ested. Therefore, there is no longer a need for the above described item s to rem ain
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   sealed.

                                               Respectfully subm itted,

                                               AR IAN A FAJA RD O ORSH AN
                                               UN ITED STATES ATTORN EY
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